 Case 16-67253-wlh       Doc 31    Filed 07/12/18 Entered 07/12/18 14:10:11           Desc Main
                                   Document      Page 1 of 3


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                         :          CHAPTER 13
EMMETT JEROME ARNOLD, V                        :          CASE NO. A16-67253-WLH
      DEBTOR                                   :


                         OBJECTION TO POST CONFIRMATION
                         MODIFICATION FILED ON JUNE 29, 2018

       COMES NOW, NANCY J. WHALEY, Standing Chapter 13 Trustee in the above-styled case,

and files herewith this Objection to Post-Confirmation Modification filed on June 29, 2018 and as

grounds shows the Court as follows:

                                                   1.

       The Debtor filed for relief under Chapter 13 of Title 11 on September 30, 2016. The Debtor’s

plan was confirmed on February 21, 2017.

                                                   2.

       The Modification as proposed will extend to seventy-five (75) months, which exceeds the

sixty (60) months allowed by 11 U.S.C. Section 1322(d).

                                                   3.

       The Trustee requests proof of income and copies of the Debtor’s 2016 and 2017 tax returns in

order to determine the accuracy and veracity of the Modification and amended Schedules I and J. 11

U.S.C. Section 521(1), 11 U.S.C. Section 1325(a)(3), and 11 U.S.C. Section 1325(b)(1)(B).
 Case 16-67253-wlh       Doc 31    Filed 07/12/18 Entered 07/12/18 14:10:11           Desc Main
                                   Document      Page 2 of 3


       WHEREFORE, based on the foregoing, the Chapter 13 Trustee prays that the Court review

this Modification and deny the Debtor’s Modification and require that the case continue under the

provisions of the confirmed Chapter 13 plan and said other and further relief as the Court seem may

deem just and proper.

                                            Respectfully submitted,


                                            __/s/_____________________
                                            Ryan J. Williams,
                                            GA Bar No. 940874
/jlr                                        Attorney for Chapter 13 Trustee
                                            303 Peachtree Center Ave., NE
                                            Suite 120
                                            Atlanta, GA 30303
                                            (678) 992-1201
Case 16-67253-wlh        Doc 31      Filed 07/12/18 Entered 07/12/18 14:10:11           Desc Main
                                     Document      Page 3 of 3
                                   CERTIFICATE OF SERVICE
Case No: A16-67253-WLH

This is to certify that I have this day served the following with a copy of the foregoing Chapter 13
Trustee's Objection to Post Confirmation Modification by depositing in the United States mail a
copy of same in a properly addressed envelope with adequate postage thereon.

Debtor(s):
EMMETT JEROME ARNOLD, V
P. O. BOX 52991
ATLANTA, GA 30355




By Consent of the parties, the following have received an electronic copy of the foregoing
Chapter 13 Trustee's Objection to Post Confirmation Modification through the Court's
Electronic Case Filing system.

Attorney for the Debtor(s):
SLIPAKOFF & SLOMKA, PC
se@myatllaw.com




This the 12th day of July, 2018.


/s/____________________________________
  Ryan J. Williams
  Attorney for the Chapter 13 Trustee
  State Bar No. 940874
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
